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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   EL DORADO DIVISION

UNITED STATES OF AMERICA                                                                         PLAINTIFF

v.                                        Case No. 1:86-cr-10004
                                          Case No. 1:97-cr-10005
                                          Case No. 1:97-cr-10006

LESLIE ISBEN ROGGE                                                                            DEFENDANT


                                                  ORDER

        Before the Court is Defendant Leslie Isben Rogge’s Motions to Reconsider the Court’s

prior order. ECF No. 86. 1 Defendant seeks to have the Court reconsider its prior order (ECF No.
                            0F




86) denying Defendant’s Motion for Compassionate Release (ECF No. 84). The Court previously

found that Defendant did not show that he had exhausted the required administrative remedies

prior to filing his motion for release. ECF No. 86, p. 4. In the instant motion, Defendant states

that his statement that his request for release to his warden had been denied was in error. Defendant

explains that his warden never answered his request for release, which Defendant mistakenly

misunderstood as a denial.

        Upon consideration, the Court finds that Defendant has shown good cause for a partial

reconsideration of the Court’s prior order. If Defendant has not received an answer from his

warden regarding his request for release, then he has exhausted his administrative remedies. See

18 U.S.C. § 3582(c)(1)(A)(i). Accordingly, the Court’s prior order (ECF No. 86) is hereby

STRUCK, and Defendant’s motion (ECF No. 84) shall be considered pending. The Court will



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  Defendant has filed an identical motion in three cases. See Ark. W.D. Case No. 1:86-cr-10004, ECF No. 84; Ark.
W.D. Case No. 1:97-cr-10005, ECF No. 31; Ark. W.D. Case No. 1:97-cr-10006, ECF No. 31. The Court will refer to
the motion filed in Case No. 1:86-cr-10004 (ECF No. 86) in analyzing the merits of his motion, unless otherwise
noted.
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appoint the Federal Public Defender to represent Defendant regarding his request for

compassionate release. The Court’s orders in the parallel matters will also be struck, with

Defendant’s motions now considered pending. The motions that are now considered pending are

Ark. W.D. Case No. 1:97-cr-10005, ECF No. 29; and Ark. W.D. Case No. 1:97-cr-10006, ECF

No. 29. The Court’s orders to be struck are Ark. W.D. Case No. 1:97-cr-10005, ECF No. 30; and

Ark. W.D. Case No. 1:97-cr-10006, ECF No. 30.

       IT IS SO ORDERED, this 3rd day of March, 2023.

                                                         /s/ Susan O. Hickey
                                                         Susan O. Hickey
                                                         Chief United States District Judge




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